Case 1:13-cr-00118-TH        Document 184        Filed 05/05/14     Page 1 of 5 PageID #: 524




                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
VS.                                             §    CASE NO. 1:13-CR-118(3)
                                                §
                                                §
CHANG JIN SONG                                  §

         FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
              BEFORE THE UNITED STATES MAGISTRATE JUDGE

       By order of the District Court, this matter was referred to the undersigned United States

Magistrate Judge for administration of a guilty plea and allocution under Rules 11 and 32 of the

Federal Rules of Criminal Procedure. Magistrate judges have the statutory authority to conduct a

felony guilty plea proceeding as an “additional duty” pursuant to 28 U.S.C. § 636(b)(3). United

States v. Bolivar-Munoz, 313 F.3d 253, 255 (5th Cir. 2002), cert. denied, 123 S. Ct. 1642 (2003).

       On May 5, 2014, this cause came before the undersigned United States Magistrate Judge

for entry of a guilty plea by the defendant, Chang Jin Song, on Count One of the charging

Indictment filed in this cause. Count One of the Indictment charges the defendant with RICO

conspiracy under 18 U.S.C. § 1962(d). Specifically, the Indictment sets out general allegations,

the alleged racketeering enterprise, the purposes and means and methods of alleged enterprise,


                                               -1-
Case 1:13-cr-00118-TH         Document 184        Filed 05/05/14      Page 2 of 5 PageID #: 525




and the roles of the defendants. Count One states that from in or about 2006, the exact date

remaining unknown, until November 7, 2013, in the Eastern District of Texas and elsewhere,

Lina Sun, a/k/a “Linda,” Chenglun Ma a/k/a “Pablo,” Chang Jin Song, and Zhiquang Li, together

with other persons known and unknown to the Grand Jury, being persons employed by and

associated with the Hong Li enterprise, an enterprise which engaged in, and the activities of

which affected interstate commerce, knowingly and intentionally conspired to violate 18 U.S.C.

§ 1962(c), that is to conduct and participate, directly and indirectly, in the conduct of the affairs

of the Hong Li enterprise through a pattern of racketeering activity, as that term is defined in 18

U.S.C. § 1961(1) and 1961(5), consisting of multiple acts indictable under Title 8 U.S.C. § 1324

(relating to bringing and harboring certain aliens for the purpose of financial gain).

       Defendant, Chang Jin Song, entered a plea of guilty to Count One of the Indictment into

the record at the hearing.

       After conducting the proceeding in the form and manner prescribed by Federal Rule of

Criminal Procedure 11 the Court finds:

       a.      That Defendant, after consultation with counsel of record, has knowingly, freely

and voluntarily consented to the administration of the guilty plea in this cause by a United States

Magistrate Judge in the Eastern District of Texas subject to a final approval and imposition of

sentence by the District Court.

       b.      That Defendant and the Government have entered into a plea agreement which

was disclosed and addressed in open court, entered into the record, and placed under seal.

       c.      That Defendant is fully competent and capable of entering an informed plea, that



                                                -2-
Case 1:13-cr-00118-TH         Document 184        Filed 05/05/14       Page 3 of 5 PageID #: 526




Defendant is aware of the nature of the charges and the consequences of the plea, and that the

plea of guilty is a knowing, voluntary and freely made plea. Upon addressing the Defendant

personally in open court, the Court determines that Defendant’s plea is voluntary and did not

result from force, threats or promises. See FED . R. CRIM . P. 11(b)(2).

       d.      That Defendant’s knowing, voluntary and freely made plea is supported by an

independent factual basis establishing each of the essential elements of the offense and Defendant

realizes that his conduct falls within the definition of the crime charged under 18 U.S.C.

§ 1962(d).

                                  STATEMENT OF REASONS

       As factual support for Defendant’s guilty plea, the Government presented a factual basis.

See Factual Basis and Stipulation. In support, the Government and Defendant stipulated that if

this case were to proceed to trial the Government would prove that defendant is one and the same

person charged in Count One of the Indictment and that the events described in Count One of the

Indictment occurred in the Eastern District of Texas and elsewhere. The Government would also

prove beyond a reasonable doubt, through admissible exhibits and the sworn testimony of

witnesses, each and every essential element of the crime charged in Count One of the Indictment.

The Court incorporates the proffer of evidence described in detail in the factual basis in support

of the guilty plea. Defendant, Chang Jin Song, agreed with and stipulated to the evidence

presented in the factual basis. Counsel for Defendant and the Government attested to Defendant’s

competency and capability to enter an informed plea of guilty. The Defendant agreed with the

evidence presented by the Government and personally testified that he was entering his guilty



                                                -3-
Case 1:13-cr-00118-TH        Document 184         Filed 05/05/14     Page 4 of 5 PageID #: 527




plea knowingly, freely and voluntarily.

                               RECOMMENDED DISPOSITION

       IT IS THEREFORE the recommendation of the undersigned United States Magistrate

Judge that the District Court accept the Guilty Plea of Defendant which the undersigned

determines to be supported by an independent factual basis establishing each of the essential

elements of the offense charged in Count One of the charging Indictment on file in this criminal

proceeding.   The Court also recommends that the District Court accept the plea agreement

pursuant to Federal Rule of Criminal Procedure 11(c). Accordingly, it is further recommended

that, Defendant, Chang Jin Song, be finally adjudged as guilty of the charged offense under Title

18, United States Code, Section 1962(d).

       Defendant is ordered to report to the United States Probation Department for the

preparation of a presentence report. At the plea hearing, the Court admonished the Defendant that

the District Court may reject the plea and that the District Court can decline to sentence

Defendant in accordance with the plea agreement, the federal sentencing guidelines and/or the

presentence report because the sentencing guidelines are advisory in nature. The District Court

may defer its decision to accept or reject the plea agreement until there has been an opportunity to

consider the presentence report. See FED . R. CRIM . P. 11(c)(3)(A). If the Court rejects the plea

agreement, the Court will advise Defendant in open court that it is not bound by the plea

agreement and Defendant may have the opportunity to withdraw the guilty plea, dependent upon

the type of the plea agreement. See FED . R. CRIM . P. 11(c)(3). If the plea agreement is rejected

and Defendant still persists in the guilty plea, the disposition of the case may be less favorable to



                                               -4-
Case 1:13-cr-00118-TH        Document 184        Filed 05/05/14      Page 5 of 5 PageID #: 528




Defendant than that contemplated by the plea agreement. Defendant has the right to allocute

before the District Court before imposition of sentence.

                                         OBJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed within fourteen

(14) days after being served with a copy of this report. See 28 U.S.C. § 636(b)(1).

       A party’s failure to object bars that party from: (1) entitlement to de novo review by a

district judge of proposed findings and recommendations, see Rodriguez v. Bowen, 857 F.2d 275,

276-77 (5th Cir. 1988), and (2) appellate review, except on grounds of plain error of unobjected-to
 .
factual findings and legal conclusions accepted by the district court, see Douglass v. United Servs.

Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc). The constitutional safeguards afforded

by Congress and the courts require that, when a party takes advantage of his right to object to a

magistrate’s findings or recommendation, a district judge must exercise its nondelegable authority

by considering the actual evidence and not merely by reviewing and blindly adopting the

magistrate’s report and recommendation. See Hernandez v. Estelle, 711 F.2d 619, 620 (5th Cir.

1983); United States v. Elsoffer, 644 F.2d 357, 359 (5th Cir. 1981) (per curiam).


                    SIGNED this the 5th day of May, 2014.




                                                      ____________________________________
                                                      KEITH F. GIBLIN
                                                      UNITED STATES MAGISTRATE JUDGE




                                               -5-
